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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                                                              14-CR-26(S)
             -v-

WILLIAM JEFFERSON,
                Defendant.
___________________________________



                                   DECISION AND ORDER

             This case was referred to the undersigned by the Hon. William M. Skretny,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions. Dkt. #2.



                             PRELIMINARY STATEMENT

             The defendant, William Jefferson (“the defendant”), is charged in a

Second Superseding Indictment, along with eight co-defendants, with having violated

Title 21, United States Code, Section 846 (conspiracy to possess with intent to

distribute, and to distribute 28 grams or more of cocaine base) (Count 1). Dkt. #33.

Defendant Jefferson filed an omnibus discovery motion on June 5, 2015. Dkt. #157.

The government filed its opposition to the instant motion, as well as a cross motion for

discovery on June 19, 2015. Dkt. #160. Oral argument on defendant Jefferson’s

motion was held on July 7, 2015. At that time, counsel for the parties requested that the

Court hold the defendant’s motions in abeyance until July 28, 2015 to allow the parties
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additional time to engage in plea negotiations. Accordingly, this Court took the

defendant’s pre-trial motions under advisement as of July 28, 2015.



                              DISCUSSION AND ANALYSIS

Bill of Particulars

              In response to defendant Jefferson’s request for a detailed bill of

particulars, the government states that defendant’s request for particularization should

be denied because the defendant has failed to articulate any facts upon which the Court

could conclude that the defendant has met his burden of establishing need. Dkt. #160,

p.8. In addition, the government maintains that it “has also provided the defendant with

copies of the intercepted wire communications, FBI 302s detailing seizures made during

the investigation, wiretap applications and affidavits and search warrant affidavits. In

light of this information, the other discovery provided to the defense, and the straight-

forward nature of the case, there is no need for a bill of particulars.” Id.



              The defendant’s request is denied. It has become axiomatic that the

function of a bill of particulars is to apprise a defendant of the essential facts of the

crime for which he has been charged. United States v. Salazar, 485 F.2d 1272, 1277-

78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v. United States, 273

U.S. 77 (1927).

              A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, 493 U.S. 834, 110 S.Ct. 110, 107 L.Ed.2d 72 (1989);

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               see also United States v. Leonelli, 428 F. Supp. 880, 882
               (S.D.N.Y. 1977). “Whether to grant a bill of particulars rests
               within the sound discretion of the district court.” United
               States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
               United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
               cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
               (1980)); see also [United States v.] Bortnovsky, 820 F.2d
               [572] at 574 [(2d Cir. 1987)]. “Acquisition of evidentiary
               detail is not the function of the bill of particulars.” Hemphill v.
               United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393
               U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied, 543 U.S. 994 (2004); United States v.

Porter, No. 06-1957, 2007 WL 4103679 (2d Cir. Nov. 19, 2007), cert. denied, 128 S.Ct.

1690 (2008).



Giglio and Brady Material

               The government has stated that it is aware of its disclosure obligations

and responsibilities under Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United

States, 405 U.S. 150 (1972) and subsequent cases and has agreed to provide

impeachment Brady material in accordance with the schedule set by the trial court prior

to trial and no later than when the government produces and delivers the Jencks Act

material in this case. Dkt. #160, p.13. As a result of these representations, the

defendant’s request for such materials, i.e., Brady and Giglio is denied, but the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.

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              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa, at 146. The prosecution is obligated to disclose and turn over Brady material to

the defense “in time for its effective use.” Coppa, at 144. With respect to impeachment

material that does not rise to the level of being Brady material, such as Jencks

statements, the prosecution is not required to disclose and turn over such statements

until after the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule

26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



Jencks Act Material

              By his request, defendant Jefferson seeks the early disclosure of Jencks

Act material, not less than forty-eight hours prior to the trial. Dkt. #157, 5. With respect

to impeachment material that does not rise to the level of being Brady material, such as

Jencks statements, the prosecution is not required to disclose and turn over such

statements until after the witness has completed his direct testimony. See 18 U.S.C. §

3500; Rule 26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). In its

response, the government consents to provide Jencks Act material one week prior to

the commencement of the trial. Dkt. #160, p.10.      As a result of these representations,

the defendant’s request for Jencks Act material, is denied as moot.




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Identity of Informants

              The defendant requests that the government be directed to disclose the

identity of the confidential informants involved in this matter. Dkt. #157, pp.6-7.

Alternatively, in the event that this Court denies the defendant’s request, the defendant

requests that this Court conduct an in camera review of the materials “to evaluate the

competing interests in such disclosure.” Id. In its response, the government argues

pursuant to Roviaro, that the law recognizes a privilege to withhold the identities and

backgrounds of confidential informants because “it recognizes the obligation of citizens

to communicate their knowledge of the commission of crimes to law enforcement

officials and, by preserving their anonymity, encourages them to perform that

obligation.” Roviaro v. United States, 353 U.S. 53, 59 (1957). However, the privilege

must give way when, “the disclosure of an informant’s identity, or the contents of his

communication, is relevant and helpful to the defense of the accused, or is essential to

the fair determination of a cause.” Id. at 60-61. Here, the government argues that the

defendant’s burden is heightened because of the drug-related nature of the case, the

significant amount of narcotics and money involved in this case. Dkt. #160, pp.10-11.

Indeed, the government concludes that the defendant has not satisfied his burden of

showing a particularized need for the disclosure of the informants’ identities. Id. at p.11.




              The Court agrees that the defendant has failed to carry his burden and

demonstrate “that the testimony of the informant would [be] of even marginal value to

the defendant’s case.” As a result, the holding of the Court of Appeals for the Second




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Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988), cert. denied, 489 U.S.

1089 (1989), is dispositive of this request by the defendant wherein the Court stated:


             The leading Supreme Court case on this question, Roviaro
             v. United States, 353 U.S. 53, 77 S.Ct. 623, 1L.Ed.2d 639
             (1957), holds that

                        [w]here the disclosure of an informant’s
                        identity, or of the contents of his
                        communication, is relevant and helpful
                        to the defense of an accused, or is
                        essential to the fair determination of a
                        cause, the [informant’s] privilege must
                        give way.

             353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
             “no fixed rule with respect to disclosure is justifiable.” Id. at
             62, 77 S.Ct. at 628. What is required is “balancing the public
             interest in protecting the flow of information against the
             individual’s right to prepare his defense.” Id. Whether non-
             disclosure is erroneous “must depend on the particular
             circumstances of each case, taking into consideration the
             crime charged, the possible defenses, the possible
             significance of the informer’s testimony, and other relevant
             factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
             534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
             States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
             States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
             denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409 (1973).



             The defendant is generally able to establish a right to
             disclosure “where the informant is a key witness or
             participant in the crime charged, someone whose testimony
             would be significant in determining guilt or innocence.”
             United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
             United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
             1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
             1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
             In Roberts, the informant introduced an undercover agent to

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              the defendant and was present when the defendant and the
              agent negotiated and transacted two sales of heroin. The
              Court, noting that the informant was “present during all the
              significant events,” 388 F.2d at 649, found that he was
              “obviously a crucial witness to the alleged narcotics
              transactions,” id., and therefore, his whereabouts should
              have been revealed to the defense if properly requested.
              But disclosure of the identity or address of a confidential
              informant is not required unless the informant’s testimony is
              shown to be material to the defense. See United States v.
              Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
              3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v. Lila,
              699 F.2d at 105. As this Court’s recent opinion in United
              States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes clear,
              it is not sufficient to show that the informant was a participant
              in and witness to the crime charged. In Jimenez, the
              informant was both participant and witness, but the district
              court’s refusal to order disclosure of his identity was upheld
              on the ground that the defendant had failed to show that the
              testimony of the informant “would have been of even
              marginal value to the defendant’s case. 789 F.2d at 170.”



Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir. 1997).



              Since the defendant has not made a sufficient showing that any

informant’s potential testimony is material to his defense, this request is denied.



Discovery

              Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the

defendant seeks the disclosure of the following: any statements of the defendant; any

statements of co-defendants or co-conspirators; names and address of all witnesses;

names of all law enforcement personnel present when the defendant was arrested,


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questioned or when any search was executed; any photographs; any audio or video

tapes or electronic recordings; police reports, notes or memoranda; and all items seized

on the day of defendant’s arrest; the names and identities of expert witnesses; any

documents concerning chemical testing or analysis. Dkt. #157, pp.7-14.



              In its response, the government states, “[i]n the instant case, the

government represents that it has provided all discovery required under Rule 16 or has

made such discovery available to inspection by defense counsel. The government has

also permitted the defense to inspect other documents in the possession of the

government. The government is aware of its obligation to provide continuing Rule 16

discovery if and when such becomes known to the government, and agrees to comply

with this requirement.” Dkt. #160, p.15. Based on the representations made by counsel

for the government, the defendant’s request is denied as moot.



Disclosure of 404(b) Evidence

              In response to the defendant’s request for the disclosure pursuant to

Federal Rules of Evidence 404(b), the government states that “[t]he government will

provide notice of such information to the defense, pursuant to the District Court’s

scheduling order.” Dkt. #160, p.15. Rule 404(b) of the Federal Rules of Evidence only

requires that “the prosecution . . . provide reasonable notice in advance of trial . . . of the

general nature of any such evidence it intends to introduce at trial” (emphasis added).

Based on the representations made by the government concerning its intention to

supply the requested information consistent with the trial court’s scheduling order,



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defendant’s request on this issue is denied as being moot.      The issue of admissibility

of such evidence, as raised in the defendant’s request, pursuant to Rules 404(b) of the

Federal Rules of Evidence is best left to the determination of the trial judge at the time

of trial.



Joinder

              By this request, the defendant seeks to join in any and all of the motions

submitted by co-defendant’s that apply to defendant Jefferson’s case. Dkt. #157, p.18.

This request is granted with the further directive and finding that the decision made by

this Court as to each of the co-defendant’s requests contained in their motion in which

this defendant joins, shall also be deemed to be the finding and Order of this Court as to

the defendant herein.



Government’s Request for Reciprocal Discovery

              In addition to the relief requested by the defendant, the government has

made a request for reciprocal discovery. Dkt. #160, p.20. The government has

requested that the defendant permit it to inspect and copy books, papers, documents,

photographs and tangible objects which the defendant intends to introduce as evidence-

in-chief at the trial. Id. In addition, the government seeks to inspect all reports of

physical or mental examinations and of scientific tests or experiments, within the

possession or control of the defendant along with written summaries of expert witness

testimony that the defendant intends to use at trial. Id. Since the defendant has moved

pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar



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materials and information, the government is entitled to this information pursuant to

Rule 16(b)(1) and its request is granted.



              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statue, Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to



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comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:      September 18, 2015
            Buffalo, New York




                                      s/ H. Kenneth Schroeder, Jr.
                                      H. KENNETH SCHROEDER, JR.
                                      United States Magistrate Judge




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